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U.S. 872 (1990), the regulation challenged in this action, 18 N.Y.C.R.R. §421.3(3) (“the

Regulation”) is constitutional nonetheless. However, the Supreme Court has made clear in more

recent years that Smith is not the exclusive word regarding the right to free exercise, and that

even “neutral” laws cannot intrude into the conduct of central and historic religious functions.

Trinity Lutheran Church v. Comer, 137 S. Ct. 2012, 2021 n.2 (2017); Hosanna-Tabor

Evangelical Lutheran Church v. EEOC, 565 U.S. 171, 190 (2012).

       In addition, New Hope has alleged and provided evidence that the Regulation is not

neutral because in practice it impacts only religious providers of adoption services. (Cmpl.

⁋⁋ 188, 202-03, 248-52.) This evidence also supports a reasonable inference that the Regulation

was motivated by a target of forcing religious providers of adoption services to violate their

convictions, or shut down. (Cmpl. ⁋ 248) New Hope is entitled to discovery to pursue evidence

of hostility and targeting in the development, promulgation, and enforcement of the Regulation.

       New Hope has also alleged that the Regulation does not serve a governmental interest

cognizable in this context. Contrary to Ms. Kerwin’s description, no statute of New York

“prohibits discrimination by providers of adoption services . . .”. Instead, the law requires

service providers to “discriminate” in the best interests of the child in many ways. (Cmpl. ⁋⁋

170-81.) The law was changed in 2010 to permit placement with same-sex couples, but as the

Governor noted in his signing statement, the law does not require it. (Cmpl. ⁋⁋ 157-163.) No

statute has authorized or directed OCFS to overrule the judgment of adoption service providers

in this regard, so OCFS should not be heard to assert this as an “interest” justifying the

promulgation of a regulation that violates free exercise rights. Further, given the large backlog

of children waiting to be adopted in New York State and the large number of agencies willing to


                           15100 North 90th Street, Scottsdale, Arizona 85260
                        Phone: 800.835-5233    Fax: 480-444-0024     A D F l e g a l . o r g 
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place children with same-sex couples (Cmpl. ⁋⁋ 29-33, 206-07), OCFS does not explain how

forcing New Hope to shut down would “further” the ability of any potential adoptive parent to

adopt a child, or indeed accomplish anything at all other than publicly “punishing” a disapproved

viewpoint based on religious conviction. (PI Mem. 20-21.)

       New Hope has also alleged that the Regulation is not narrowly tailored, because the

relevant law permits agencies to exclude prospective parents from adoption for many reasons

including religion and ethnicity (criteria that are protected characteristics in many other

contexts), and there is no basis to believe that the specific restrictions that the Regulation

imposes will actually advance any cognizable interest. (Cmpl. ⁋⁋ 170-81, 249; PI Mem. 17-20.)

See Church of the Lukumi Babalu Aye v. City of Hialeah, 508 U.S. 520, 543-44 (1993).

       Ms. Kerwin argues that the Regulation does not impose an “unconstitutional condition.”

(12/28/18 Letter at 3.) However, New Hope has alleged that the license necessary to continue its

mission of providing help to orphaned and abandoned children is the most valuable benefit

possible to New Hope, and that OCFS is enforcing the Regulation in a manner that puts New

Hope to the choice of violating its religious principles and engaging in compelled speech

contrary to its beliefs, or being forced to shut down. (Cmpl. ⁋⁋ 209, 242-47, 255-56.) This is an

unconstitutional “condition” on both its free exercise and free speech rights. (PI Mem. 13-15.)

       The arguments that Ms. Kerwin advances against New Hope’s claim that the Regulation

violates its free speech and expressive association rights (Count II) do not go to the sufficiency

of the Complaint, but rather are fact-specific assertions that cannot support a motion to dismiss.

(12/28/18 Letter at 2.) New Hope has alleged that the Regulation targets religious service

providers, supporting New Hope’s claim for violation of Due Process rights. (Count III.)


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         Ms. Kerwin requests additional time to move or answer. (12/28/18 Letter at 3.) Plaintiff

has conferred with counsel, and has consented to an extension of two weeks.

Respectfully,




    Erik W. Stanley                                   Roger G. Brooks
    Senior Counsel                                    Senior Counsel
    Arizona State Bar No. 030961                      New York State Bar No. 16317
    estanley@ADFlegal.org                             rbrooks@ADFlegal.org


c:       Adrienne J. Kerwin (Adrienne.Kerwin@ag.ny.gov)
         Robert E. Genant (bgenant@genantlaw.com)
         David A. Cortman (dcortman@ADFlegal.org)
         Jeremiah Galus (jgalus@ADFlegal.org)
         Jeana Hallock (jhallock@ADFlegal.org)
         Jonathan Scruggs (jscruggs@ADFlegal.org)


 
 
 
 
 
 
 




                            15100 North 90th Street, Scottsdale, Arizona 85260
                        Phone: 800.835-5233     Fax: 480-444-0024     A D F l e g a l . o r g 
